Case: 1:17-cv-00377-JG Doc #: 349 Filed: 11/16/18 1o0f 6. PagelD #: 7139

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

DERRICK WHEATT, ef a/,
Plaintiffs,

v.

CITY OF EAST CLEVELAND, ef af,

Defendants.

JAMES S, GWIN, UNITED STATES DISTRICT JUDGE:

HONOY 1S. pit 5. 94
CASE NO, TAAEMBT A SEN Coen,

CASE NO, 1:17-CV-611
VERDICT

Laurese Glover's Federal § 1983 Claims
Against Michael Perry

We, the Jury in this case, having been duly impaneled find in favor of Plaintiff Laurese

Glover against Defendant Michael Perry and award damages of Bs WY Hil if i) .

Fach of us Jurors concurring in said verdict signs his/her name hereto this IS bay of

November, 2018,

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FOREPERSON

Case: 1:17-cv-00377-JG Doc #: 349 Filed: 11/16/18 2 of 6. PagelD #: 7140

DERRICK WHEATT, ef al,
Plaintiffs,

v.

CITY OF EAST CLEVELAND, et af,

Defendants,

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE;

CASE NO. 1A? PH 5: 3h

consolidated:with: jy 5»

CASE NO. 1: TIEWRG tis CY ¢
OE EVEL, Ane

VERDICT

Eugene Johnson’s Federal § 1983 Claims
Against Michael Perry

We, the Jury in this case, having been duly impaneled find in favor of Plaintiff Eugene

Johnson against Defendant Michael Perry and award damages of BA milli

Each of us Jurors concurring in said verdict signs his/her name hereto this 1" ay of

November, 2018.

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Case: 1:17-cv-00377-JG Doc #: 349 Filed: 11/16/18 3 of 6. PagelD #: 7141

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF OHIO 2016 Noy 15 py
fire.) MO 3h
DERRICK WHEATT, et a/, CASE NO. 1:17-CV-3 798! Big e ae
' ' WS EE dee i
: consolidated with AA
Plaintiffs, : CASE NO. 1:17-CV-611
v. : VERDICT
CITY OF EAST CLEVELAND, ef a/, : Derrick Wheatt’s Federal § 1983 Claims

Against Michael Perry
Defendants.

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

We, the Jury in this case, having been duly impaneled find in favor of Plaintiff Derrick

Wheatt against Defendant Michael Perry and award damages of 4 5 Mullen .

Each of us Jurors concurring in said verdict signs his/her name hereto this lay of

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Case: 1:17-cv-00377-JG Doc #: 349 Filed: 11/16/18 4 of 6. PagelD #: 7142

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO 20)

DERRICK WHEATT, ef aé, : CASE NO. 1! i Ces
i : consolidated with ®LF Vey NM ;
Plaintiffs, CASE NO, 1:17-CV-611
v, 2 : VERDICT
CITY OF EAST CLEVELAND, etal, : Laurese Glover’s Federal § 1983 Claims

Against Vincent Johnstone
Defendants.

JAMES S, GWIN, UNITED STATES DISTRICT JUDGE:

We, the Jury in this case, having been duly impaneled find in favor of Plaintiff Laurese

Glover against Defendant Vincent Johnstone and award damages of \ J NON .

Each of us Jurors concurring in said verdict signs his/her name hereto this IM aay of

November, 2018. fo) : o

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Case: 1:17-cv-00377-JG Doc #: 349 Filed: 11/16/18 5 of 6. PagelD #: 7143

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO 2010

DERRICK WHEATT, et af, : CASE NO. 1:1722N33 77.9 pe
: consolidated with
Plaintiffs, : CASE NO, 1:17-CV-6141
Vv. : VERDICT
CITY OF EAST CLEVELAND, ef a/, : Eugene Johnson’s Federal § 1983 Claims

Against Vincent Johnstone
Defendants.

JAMES S, GWIN, UNITED STATES DISTRICT JUDGE:
We, the Jury in this case, having been duly impaneled find in favor of Plaintiff Eugene

Johnson against Defendant Vincent Johnstone and award damages of | mill Of

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Each of us Jurors concurring in said verdict signs his/her name hereto this |b day of

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Case: 1:17-cv-00377-JG Doc #: 349 Filed: 11/16/18 6 of 6. PagelD #: 7144

UNITED STATES DISTRICT COURT I
NORTHERN DISTRICT OF OHIO :
2018 Noy |

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DERRICK WHEATT, et al, CASE NO. 1:1 HVARE
: consolidated with =! pup tile

" ing Ff} 4 Mies . ae
Plaintiffs, CASE NO, 1:17-CV-611 0
v. : VERDICT
CITY OF EAST CLEVELAND, ef af, : Derrick Wheatt’s Federal § 1983 Claims

Against Vincent Johnstone
Defendants.

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

We, the Jury in this case, having been duly impaneled find in favor of Plaintiff Derrick

Wheatt against Defendant Vincent Johnstone and award damages of | 5 mill I”

Each of us Jurors concurring in said verdict signs his/her name hereto this|5™ day of

_November, 2018.

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